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                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF GEORGIA
                                          ATLANTA DIVISION

             PORFIRIO AYALA-CASTANEDA,               :     MOTION TO VACATE
             BOP No. 60695-019,                      :     28 U.S.C. § 2255
                  Movant,                            :
                                                     :     CIVIL ACTION NO.
                     v.                              :     1:12-CV-1757-ODE-ECS
                                                     :
             UNITED STATES OF AMERICA,               :     CRIMINAL ACTION NO.
                  Respondent.                        :     1:09-CR-64-1-ODE-ECS

                                 FINAL REPORT AND RECOMMENDATION

                     This    matter   is    before   the   Court   on   Porfirio    Ayala-
             Castaneda’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside,
             or Correct Sentence by a Person in Federal Custody.               [Doc. No.
             157].        For the following reasons, the undersigned recommends
             that Mr. Ayala-Castaneda’s motion be dismissed and that no
             certificate of appealability be issued.
                     In Feburary 2009, Mr. Ayala-Castaneda was indicted for four
             serious drug and firearm offenses, including one arising under
             18 U.S.C. § 924(c).           [Doc. No. 35].      After the trial date was
             continued to permit plea negotiations to be completed [Doc. No.
             108], Mr. Ayala-Castaneda pled guilty to all four counts against
             him [Doc. No. 124].           At his plea hearing, the Honorable Orinda
             D.   Evans      explicitly     confirmed    and   reconfirmed    Mr.   Ayala-
             Castaneda’s wish to plead guilty to all four counts, received
             the Government’s proffer of evidence against him, and found that
             there was a factual basis for each count of conviction.                 [Doc.
             No. 143].        In particular, after Mr. Ayala-Castaneda asserted
             that the firearm “didn’t have any magazine,” was “locked,” and




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             was not available to protect his drugs [id. at 26-27], Judge
             Evans had the government state the three elements required to
             convict   him   under   §   924(c),    including    that   “the   defendant
             possessed a firearm in furtherance of the drug trafficking
             offense” [id. at 32-33].          Judge Evans then asked Mr. Ayala-
             Castaneda whether he still wished to “give up [his] right to
             make the Government prove each of those elements beyond a
             reasonable doubt at trial,” and he responded “yes.”                 [Id. at
             33].
                    During the course of sentencing, when Mr. Ayala-Castaneda
             asserted that he had not seen the Pre-Sentence Investigation
             (“PSI”) report, Judge Evans recessed proceedings to permit Mr.
             Ayala-Castaneda and his attorney an opportunity to review it
             fully, together. [Doc. No. 144 at 8-9].            Only after Mr. Ayala-
             Castaneda stated that he had a good understanding of the PSI did
             Judge   Evans   sentence    him   to   concurrent    120-month     terms   of
             imprisonment on three counts       and a consecutive 60-month term of
             imprisonment on the § 924(c) count.           [Id. at 10; see also Doc.
             No.    133].    The   120-month    sentence    represented    a    downward
             departure in Mr. Ayala-Castaneda’s favor from the United States
             Sentencing Guidelines’ range of 135 to 168 months for his
             offenses and criminal history level.          [See Doc. No. 144 at 4].
                    To preserve an issue on which the federal circuit courts
             were then split with respect to § 924(c), Mr. Ayala-Castaneda’s
             attorney filed a notice of appeal.         [Doc. No. 134].        The United
             States Court of Appeals for the Eleventh Circuit granted Mr.

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             Ayala-Castaneda’s attorney an extension of time to brief the
             appeal until 30 days after the publication of the United States
             Supreme    Court’s      then-pending          decision      in     Abbott    v.     United
             States, 131 S. Ct. 18 (2010), and a companion case.                           [Doc. No.
             145].     When the Supreme Court decided Abbott and its companion
             case     adversely      to     the    petitioners-criminal               defendants      -
             foreclosing the § 924(c) argument preserved for appeal - Mr.
             Ayala-Castaneda’s attorney filed a brief pursuant to Anders v.
             California,      386    U.S.    738     (1967),      and    sought      permission      to
             withdraw.       In July 2011, after “an independent examination of
             the    entire    record      [that]     reveal[ed]         no    arguable     issues    of
             merit,”    the    United       States    Court       for    the    Eleventh        Circuit
             permitted       Mr.    Ayala-Castaneda’s          attorney         to    withdraw      and
             affirmed Mr. Ayala-Castaneda’s convictions and sentence.                             [Doc.
             No. 152 at 2].
                     This matter is now before the Court because Mr. Ayala-
             Castaneda alleges that he received ineffective assistance from
             counsel with respect to his § 924(c) conviction and sentence.
             [Doc. No. 157]. In particular, Mr. Ayala-Castaneda alleges that
             he “does not qualify to be sentenced to the charge, 18 U.S.C.
             § 924(c)(1)(A).”        [Id. at 4].
                     Three members of the Eleventh Circuit – looking, among
             other    things,      specifically       at    the    propriety         of   Mr.    Ayala-
             Castaneda’s § 924(c) conviction and sentence – have already held
             that    their    “independent         examination          of    the    entire      record
             reveal[ed] no arguable issues of merit.”                        [Doc. No.    152 at 2].

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             Furthermore,        Judge     Evans       earlier         determined      that      the
             Government’s proffer at Mr. Ayala-Castaneda’s plea hearing of
             the evidence it would have presented at trial satisfied the
             requirement    that     there    be   a    factual        basis    for   Mr.     Ayala-
             Castaneda’s plea to the § 924(c) count.                   And Mr. Ayala-Castaneda
             himself confirmed during his plea hearing that he wished to
             waive the Government’s obligation to prove that he possessed a
             firearm in furtherance of a drug trafficking crime.
                  In    these     circumstances,           with    respect      to    Mr.     Ayala-
             Castaneda’s § 924(c) conviction and sentence, his attorney
             cannot be found to have provided              representation that fell below
             the standards for effective assistance of counsel set forth in
             Strickland v. Washington, 466 U.S. 668 (1984), and subsequent
             cases.    Mr. Ayala-Castaneda cannot “establish that no competent
             counsel would have taken the action that his counsel did take.”
             Chandler v. United States, 218 F.3d 1305, 1315 (11th Cir. 2000)
             (en banc).
                  Because Rule 4(b) of the Rules Governing Section 2255
             Proceedings for the United States District Courts requires that
             “[i]f it plainly appears from the motion . . . and the record of
             prior proceedings that the moving party is not entitled to
             relief, the judge must dismiss the motion,” the undersigned
             RECOMMENDS     that     Mr.     Ayala-Castaneda’s            §    2255    motion     be

             DISMISSED.

                  In a § 2255 proceeding, this Court “must issue or deny a
             certificate    of     appealability       when       it   enters    a    final    order

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             adverse to the applicant.”          Rule 11(a), Rules Governing Section
             2255 Proceedings for the United States District Courts.                         A
             § 2255 movant “cannot take an appeal unless a circuit justice or
             a     circuit     or    district    judge    issues     a     certificate      of
             appealability under 28 U.S.C. § 2253(c).”                   Fed. R. App. P.
             22(b)(1).       “A certificate of appealability may issue . . . only
             if the applicant has made a substantial showing of the denial of
             a constitutional right.”           28 U.S.C. § 2253(c)(2).            To make a
             substantial showing of the denial of a constitutional right, a
             § 2255 movant must demonstrate “that reasonable jurists could
             debate whether (or, for that matter, agree that) the petition
             should have been resolved in a different manner or that the
             issues presented were adequate to deserve encouragement to
             proceed further.”            Miller-El v. Cockrell, 537 U.S. 322, 336
             (2003) (citations and quotation marks omitted).                    Mr. Ayala-
             Castaneda       has    not   demonstrated   that   he   has    been   denied    a
             constitutional right or that the issue is reasonably debatable.
             The undersigned RECOMMENDS that a Certificate of Appealability

             be DENIED in this case.

                     The Clerk is DIRECTED to terminate the referral of this

             case to the undersigned.
                     SO RECOMMENDED AND DIRECTED, this 5th day of June, 2012.


                                              S/ E. Clayton Scofield III
                                              E. CLAYTON SCOFIELD III
                                              UNITED STATES MAGISTRATE JUDGE



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                            IN THE UNITED STATES DISTRICT COURT
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                  Movant,                      :
                                               :    CIVIL ACTION NO.
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                                               :
             UNITED STATES OF AMERICA,         :    CRIMINAL ACTION NO.
                  Respondent.                  :    1:09-CR-64-1-ODE-ECS

                    ORDER FOR SERVICE OF REPORT AND RECOMMENDATION OF
                              UNITED STATES MAGISTRATE JUDGE

                  Attached is the report and recommendation of the United

             States Magistrate Judge in this action in accordance with 28

             U.S.C. § 636(b)(1) and this Court’s Civil Local Rule 72.              Let

             the same be filed and a copy, together with a copy of this

             Order, be served upon counsel for the parties.

                  Pursuant to 28 U.S.C. § 636(b)(1), each party may file

             written objections, if any, to the report and recommendation

             within fourteen (14) days of service of this Order.             Should

             objections be filed, they shall specify with particularity the

             alleged error or errors made (including reference by page number

             to the transcript if applicable) and shall be served upon the

             opposing party. The party filing objections will be responsible

             for obtaining and filing the transcript of any evidentiary

             hearing for review by the District Court.       If no objections are

             filed, the report and recommendation may be adopted as the

             opinion and order of the District Court and any appellate review




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             of factual findings will be limited to a plain error review.

             United States v. Slay, 714 F.2d 1093 (11th Cir. 1983).

                  The   Clerk   is    DIRECTED       to   submit   the   report    and

             recommendation with objections, if any, to the District Court

             after expiration of the above time period.

                  SO ORDERED, this 5th day of June, 2012.


                                              S/ E. Clayton Scofield
                                              E. CLAYTON SCOFIELD III
                                              UNITED STATES MAGISTRATE JUDGE




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